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                 UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT
                       DOCKETING STATEMENT--CIVIL/AGENCY CASES

        Directions: Counsel must make a docketing statement (civil/agency) filed entry in CM/ECF
        within 14 days of docketing of the appeal, or within the due date set by the clerk=s docketing notice,
        whichever is later. File with the entry the (1) docketing statement form with any extended answers
        and (2) any transcript order form. Parties proceeding pro se are not required to file a docketing
        statement. Opposing counsel who finds a docketing statement inaccurate or incomplete may file any
        objections within 10 days of service of the docketing statement using the ECF event-docketing
        statement objection/correction filed.

         Appeal No. & Caption             23-1850 Honeywell Int'l Inc., et al v OPTO Electronics, Inc., Ltd.

         Originating No. & Caption 3:21-cv-00506 Honeywell Int'l Inc, et al v OPTO Electronics, Inc
         Originating Court/Agency         U.S.D.C. for the Western District of North Carolina


         Jurisdiction (answer any that apply)
         Statute establishing jurisdiction in Court of Appeals             28 U.S.C. § 1291

         Time allowed for filing in Court of Appeals                      30 Days

         Date of entry of order or judgment appealed                       07/23/2023

         Date notice of appeal or petition for review filed                8/14/2023

         If cross appeal, date first appeal filed                          -

         Date of filing any post-judgment motion                           8/3/2023 & 8/17/2023

         Date order entered disposing of any post-judgment motion          Pending

         Date of filing any motion to extend appeal period                 -

         Time for filing appeal extended to                                -

         Is appeal from final judgment or order?                           F Yes               F No
         If appeal is not from final judgment, why is order appealable?
         -




         Settlement (The docketing statement is used by the circuit mediator in pre-briefing review and
         mediation conducted under Local Rule 33. Counsel may make a confidential request for mediation by
         calling the Office of the Circuit Mediator at .)

         Is settlement being discussed?                       F Yes                     F No



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         Transcript (transcript order must be attached if transcript is needed and not yet on file)
         Is transcript needed for this appeal?                 F Yes                      F No
         Has transcript been filed in district court?          F Yes                      F No
         Is transcript order attached?                         F Yes                      F No


         Case Handling Requirements (answer any that apply)
         Case number of any prior appeal in same case             -

         Case number of any pending appeal in same case            -

         Identification of any case pending in this Court or -
         Supreme Court raising similar issue
                                                              If abeyance or consolidation is warranted,
                                                              counsel must file an appropriate motion.
         Is expedited disposition necessary?                       F Yes                    F No
                                                                   If yes, motion to expedite must be filed.
         Is oral argument necessary?                               F Yes                    F No
         Does case involve question of first impression?           F Yes                    F No
         Does appeal challenge constitutionality of federal        F Yes                    F No
         or state statute in case to which federal or
                                                                   If yes, notice re: challenge to
         state government is not a party
                                                                   constitutionality of law must be filed.


         Nature of Case (Nature of case and disposition below. Attach additional page if necessary.)
         Honeywell International Inc., Hand Held Products, Inc., and Metrologic Instruments, Inc.
         (collectively, "Honeywell") filed a breach of contract action against OPTO Electronics Co., Ltd.
         ("OPTO") based on OPTO's breach of the parties’ earlier License and Settlement Agreement
         (“the Agreement”). Honeywell claimed that OPTO, inter alia, (1) breached its representation
         and warranty in Section 5.1 of the Agreement regarding its past sales and (2) breached its
         Section 4.3 obligation to pay ongoing royalties to Honeywell.

         The Court granted summary judgment in OPTO’s favor regarding Honeywell’s allegation of
         breach of Section 5.1. The parties tried Honeywell’s claim under Section 4.3, et al., to a jury.
         The jury returned a verdict in Honeywell’s favor, finding that all disputed products were, in fact,
         “2D Barcode Products” pursuant to the Agreement. The district court entered judgment based
         on the jury’s verdict. Honeywell timely filed this appeal.
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         Issues (Non-binding statement of issues on appeal. Attach additional page if necessary)

         1. In granting summary judgment in favor of OPTO, did the district court err in concluding that
         the optional audit procedure set forth in Section 5.1 of the parties' Agreement served as an
         exclusive remedy for any recovery based on a breach of Section 5.1?

         2. Did the district court err in sua sponte granting summary judgment, finding that there were
         no genuine disputes of material fact as to whether Honeywell had, in fact, complied with
         Section 5.1 of the Agreement?

         3. Did the district court err in concluding that Honeywell’s Complaint limited the available
         damages theories related to Honeywell’s claim that OPTO breached Section 5.1 of the
         Agreement?




         Adverse Parties (List adverse parties to this appeal and their attorneys; provide party=s address if the
         party is not represented by counsel. Attach additional page if necessary.)
         Adverse Party: OPTO Electronics Co., Ltd.             Adverse Party: OPTO Electronics Co., Ltd.


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         Adverse Parties (continued)
         Adverse Party: OPTO Electronics Co., Ltd.             Adverse Party: OPTO Electronics Co., Ltd.


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                      Honeywell International Inc., Hand Held Products, Inc. and
                      Metrologic Instruments, Inc. v. OPTO Electronics Co, Ltd.
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        Adverse Party – OPTO Electronics Co., Ltd. (continued):

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         Appellant (Attach additional page if necessary.)

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         Appellant (continued)
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                    /s/ M. Scott Stevens
         Signature: ____________________________________                             8/29/23
                                                                         Date: ___________________

                      Appellants
         Counsel for: _____________________________________________________________


         Certificate of Service (required for parties served outside CM/ECF): I certify that this
         document was served on ____________ by [ ] personal delivery; [ ] mail; [ ] third-party
         commercial carrier; or [ ✔] email (with written consent) on the following persons at the
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         Signature: /s/ M. Scott Stevens                    Date: 8/29/23
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                      Honeywell International Inc., Hand Held Products, Inc. and
                      Metrologic Instruments, Inc. v. OPTO Electronics Co, Ltd.
                                               23-1850

        Appellants (continued):

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